
Carrington, J.
delivered the opinion of the Court.
The Court considers the motive of the advertisement, which was only to enhance the sales, by offering the inducement of five per cent, discount to the purchasing creditors.
But Garland not being of that description, can claim no benefit under it. The advertisement therefore is out of the question: and without it, there is no doubt but that the admission of the bonds as off-sets was improper. Neither the advertisement, nor the bonds, ought to have been given in evidence to prove a payment, upon the plea and issue joined in the cause.
Judgment reversed, and a new trial awarded.(1)

 Dangerfield v. Rootes, 531. White, Whittle, &amp; Co. v. Bannister's Ex. ante, p. 166. Alexander v. Morris, 3 Call. 105. Ritchie et al. v. Moore, 5 Munf. 388.

